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                                                                     Page 1
             UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEVADA


        - - - - - - - - - - - - - - - - - - x
        Cung Le, Nathan Quarry, John Fitch
        Brandon Vera, Luis Javier Vazquez,
        and Kyle Kingsbury on behalf of
        themselves and all others
        similarly situated,                 Case No.
                  Plaintiffs,       2:15-cv-01045-RFB(PAL)
            V.
        Zuffa, LLC, d/b/a Ultimate,
        Fighting Campionship and UFC,
                  Defendants.
        - - - - - - - - - - - - - - - - - - x
                      HIGHLY CONFIDENTIAL
                    VIDEOTAPED DEPOSITION OF
                     ANDREW ZIMBALIST, Ph.D.
                  Northampton, Massachusetts




        Magna Legal Services         Reported By:
        (866) 624-6221          MaryJo O'Connor, RMR/CSR
        Www.MagnaLS.com         Job No:    345726
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   5
   6                Monday, September 25, 2017
   7                           8:42 a.m.
   8
   9              VIDEOTAPED DEPOSITION of ANDREW
  10    ZIMBALIST, Ph.D., held at Hotel
  11    Northampton, 36 King Street, Northampton,
  12    Massachusetts, pursuant to notice, before
  13    MaryJo O'Connor, Registered Merit Reporter,
  14    Certified Court Reporter, and Notary Public
  15    in and for the Commonwealth of
  16    Massachusetts.
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                                                                  Page 148
   1    you selected as a yardstick or benchmark                  01:03:17
   2    for purposes of determining damages in an                 01:03:20
   3    antitrust case the five sports comparisons                01:03:24
   4    that are in your report, correct?                         01:03:29
   5            A.   Yes.                                         01:03:30
   6            Q.   Now, is there a literature in                01:03:31
   7    your field that set standards for how you                 01:03:35
   8    go about selecting benchmarks or yardsticks               01:03:38
   9    in this circumstance?                                     01:03:41
  10                 MR. CRAMER:    Objection to form.            01:03:43
  11            A.   A literature that details the                01:03:46
  12    best way to select yardsticks?                            01:03:51
  13            Q.   That sets standards for setting              01:03:53
  14    yardsticks.                                               01:03:55
  15                 MR. CRAMER:    Objection to the              01:03:56
  16            extent it calls for a legal                       01:03:57
  17            conclusion.     But you can answer, if            01:03:58
  18            you understand the question.                      01:04:00
  19            A.   I'm not sure there is a broad                01:04:07
  20    literature.     There are certain standards               01:04:08
  21    where you try to take benchmarks that have                01:04:10
  22    as much basic in common with the thing                    01:04:13
  23    you're comparing it to.                                   01:04:19
  24            Q.   All right.    If --                          01:04:21
  25            A.   And it varies with one important             01:04:22
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                                                                  Page 149
   1    characteristic.                                           01:04:25
   2            Q.   All right.    If I wanted to                 01:04:28
   3    determine how an economist for purposes of                01:04:32
   4    estimating damages using a yardstick or                   01:04:35
   5    benchmark in an antitrust case should go                  01:04:38
   6    about selecting an appropriate yardstick or               01:04:45
   7    benchmark, where would I look?                            01:04:48
   8            A.   You're asking me for the name of             01:04:51
   9    an article or articles or a book?          I can't        01:04:53
  10    give that to you as I sit here.                           01:04:56
  11                 You're talking about an antitrust            01:04:59
  12    case rather than in general.         You look for         01:05:01
  13    industries that have competition in the                   01:05:04
  14    area that you're trying to identify that                  01:05:06
  15    have -- at the same time have as much in                  01:05:11
  16    common with the enterprise or the industry                01:05:14
  17    that you're comparing it to.                              01:05:16
  18            Q.   All right.    Now, you say there             01:05:22
  19    would have to be as much in common.           Is          01:05:30
  20    there a field of study that I would look                  01:05:34
  21    to, a type of article, a type of study?                   01:05:37
  22                 How do I go about determining                01:05:43
  23    what are the standards for an economist in                01:05:45
  24    choosing a yardstick or benchmark in a                    01:05:47
  25    situation such as this?                                   01:05:51
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                                                                  Page 150
   1            A.   I can't point you to any journal             01:05:51
   2    article.                                                  01:05:54
   3            Q.   In picking a yardstick, would you            01:05:55
   4    agree with the statement that you should                  01:06:07
   5    identify a firm or firms that are similar                 01:06:09
   6    to Zuffa in all respects except for the                   01:06:14
   7    impact of the alleged antitrust violation?                01:06:18
   8            A.   I believe that, as I said a                  01:06:22
   9    moment ago, that you try to pick                          01:06:26
  10    comparators that have as much in common                   01:06:29
  11    with the base enterprise or industry as                   01:06:32
  12    possible but vary in the important respect                01:06:34
  13    that you're trying to identify.                           01:06:38
  14            Q.   So what you have said is slightly            01:06:43
  15    different than what I said, and I want to                 01:06:45
  16    explore that.                                             01:06:47
  17                 So you're using the phrase "as               01:06:48
  18    much in common," and I'm using "similar in                01:06:51
  19    all respects except for the impact of the                 01:06:54
  20    alleged antitrust violation," right?                      01:06:56
  21            A.   Okay.                                        01:06:58
  22            Q.   Is it the appropriate standard               01:06:58
  23    that you should identify a firm or firms                  01:07:05
  24    that are similar to Zuffa in all respects                 01:07:07
  25    except for the impact of the alleged                      01:07:09
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                                                                  Page 151
   1    antitrust violation?                                      01:07:11
   2                 MR. CRAMER:    Objection.     Asked          01:07:13
   3            and answered.     Also object to the              01:07:13
   4            extent it calls for a legal                       01:07:16
   5            conclusion.     But asked and answered,           01:07:17
   6            and form.                                         01:07:18
   7            A.   If you're asking me --                       01:07:19
   8            Q.   My question is --                            01:07:21
   9            A.   If you're asking me wouldn't it              01:07:22
  10    be desirable to have everything exactly the               01:07:24
  11    same except the level of competition, I                   01:07:26
  12    would say yes.                                            01:07:28
  13                 We're doing the real world, not a            01:07:29
  14    laboratory experiment here, and so you try                01:07:32
  15    to find as much as possible in common                     01:07:34
  16    except for the variable that you're trying                01:07:36
  17    to identify the impact of.         That's what I          01:07:38
  18    believe.                                                  01:07:40
  19                 Now, if you want to use just                 01:07:40
  20    boxing at the 62.2 percent, which is a low                01:07:43
  21    percentage, because I didn't consider some                01:07:46
  22    higher percentage information, if you want                01:07:49
  23    to use just boxing, I'll come out with                    01:07:52
  24    larger.      And they're not identical in other           01:07:55
  25    respects, but they're very similar.                       01:07:58
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                                                                  Page 203
   1            Q.   And as I understand it,                      01:57:43
   2    historically at some point movie actors                   01:57:45
   3    were not free agents due to a studio system               01:57:49
   4    which employed long-term exclusive                        01:57:53
   5    contracts?                                                01:57:54
   6            A.   Yes.                                         01:57:55
   7            Q.   And the long-term exclusive                  01:57:55
   8    contracts had a number of extension                       01:57:57
   9    provisions?                                               01:57:58
  10            A.   Yes.                                         01:57:59
  11            Q.   And the studio system eventually             01:57:59
  12    ended; is that right?                                     01:58:03
  13            A.   Yes.                                         01:58:04
  14            Q.   And it ended when a court in                 01:58:04
  15    California held that personal service                     01:58:08
  16    contracts can't extend beyond seven                       01:58:10
  17    calendar years.                                           01:58:12
  18            A.   That's correct.                              01:58:13
  19            Q.   And once the Court held that a               01:58:14
  20    personal service contract could not extend                01:58:16
  21    beyond seven calendar years, that ended the               01:58:18
  22    studio system and essentially created free                01:58:21
  23    agency.                                                   01:58:26
  24                 MR. CRAMER:    Objection to form.            01:58:26
  25            A.   That's largely correct.                      01:58:27
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                                                                  Page 204
   1            Q.   Well, that's exact -- well.                  01:58:28
   2                 And you say "Under the modern                01:58:33
   3    system, studios renegotiate contracts for                 01:58:35
   4    every new project"; is that right?                        01:58:38
   5            A.   Does it say that in the footnote?            01:58:40
   6            Q.   I believe --                                 01:58:44
   7            A.   Can I look at the footnote?                  01:58:44
   8            Q.   You have it right in front of                01:58:46
   9    you.                                                      01:58:47
  10            A.   Well, I need to know what page               01:58:48
  11    we're looking at.                                         01:58:51
  12            Q.   Page 18.                                     01:58:52
  13            A.   (Document review.) Okay.       It does       01:59:20
  14    say that.     Yup.                                        01:59:23
  15            Q.   And are there any contracts in               01:59:24
  16    this case that you've identified that                     01:59:26
  17    extend beyond seven calendar years?                       01:59:28
  18                 MR. CRAMER:    Objection to form.            01:59:33
  19            A.   In the contract itself you're                01:59:34
  20    saying as opposed to the --                               01:59:36
  21            Q.   Let's start with the contract                01:59:38
  22    itself.                                                   01:59:40
  23            A.   Not that I know of.      The longest         01:59:40
  24    one I think I saw was three or four years.                01:59:43
  25            Q.   And based on the yardsticks                  01:59:45
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                                                                   Page 205
    1    you've applied, you would expect that                    01:59:54
    2    52 percent or more of revenues would go to               01:59:59
    3    actors in a movie; is that right?                        02:00:01
    4           A.   Not necessarily.                             02:00:14
    5           Q.   Why?                                         02:00:19
    6           A.   Because I want to study more                 02:00:20
    7    about the cost structure of moviemaking.                 02:00:22
    8           Q.   What is it about the cost                    02:00:27
    9    structure that would cause you to say that               02:00:29
   10    something less than 50 percent of revenues               02:00:31
   11    should go to the movie actors?                           02:00:33
   12           A.   I'm just saying that I would want            02:00:36
   13    to study it.     I know a great deal about               02:00:38
   14    professional sports, and I was comfortable               02:00:41
   15    in making that comparison.        And before I'd         02:00:44
   16    be making such a comparison with the movie               02:00:47
   17    business, I'd want to study it.                          02:00:49
   18           Q.   What about the cost that you                 02:00:51
   19    would be looking at to determine why that                02:00:53
   20    comparison would or would not be valid?                  02:00:56
   21                MR. CRAMER:     Asked and answered.          02:00:59
   22           He said he wanted to study it.                    02:01:00
   23           Q.   That's what I'm saying.        He            02:01:02
   24    hasn't answered.                                         02:01:04
   25                What is it you would be looking              02:01:05
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                                                                   Page 206
    1    at?   What would you want to study to                    02:01:06
    2    determine whether it was an appropriate                  02:01:07
    3    comparison?                                              02:01:09
    4                MR. CRAMER:     Same objection.      He      02:01:09
    5           already answered.                                 02:01:10
    6           A.   So there are capital costs for               02:01:11
    7    the physical studios, there are                          02:01:16
    8    transportation cost, there are insurance                 02:01:19
    9    costs, there are administrative costs.           I       02:01:21
   10    would like to study those, the size of them              02:01:24
   11    and how they vary before I would throw this              02:01:27
   12    into the hopper as a comparator.                         02:01:30
   13           Q.   What would you be looking at to              02:01:35
   14    determine with respect to those costs to                 02:01:37
   15    determine whether the comparison was valid?              02:01:39
   16           A.   I would want to look at the share            02:01:41
   17    of those costs as a share of total revenue.              02:01:43
   18           Q.   So would you be looking at                   02:01:48
   19    whether the share of those costs was, for                02:01:50
   20    example, higher than the share of similar                02:01:52
   21    cost for Zuffa or less?       I'm trying to              02:01:56
   22    understand what you're looking for.                      02:01:58
   23                MR. CRAMER:     Asked and answered.          02:01:59
   24           Objection.                                        02:02:00
   25           A.   I would look at the relative                 02:02:00
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                                                                   Page 207
    1    shares relative to Zuffa, relative to the                02:02:03
    2    other comparators.                                       02:02:05
    3           Q.    Is there anything else you would            02:02:07
    4    be looking at to determine whether it was                02:02:17
    5    an appropriate comparison other than the                 02:02:19
    6    share of costs that were paid by the movie               02:02:21
    7    studios?                                                 02:02:29
    8           A.    Yeah.   I'd want to look at risk.           02:02:29
    9    I'd want to look at the variability of                   02:02:32
   10    revenue across projects.                                 02:02:34
   11           Q.    Why would the variability of                02:02:45
   12    revenue across projects be relevant to you               02:02:48
   13    in comparing two firms as yardsticks?                    02:02:51
   14           A.    Because other things being equal,           02:02:54
   15    you would expect two industries that were                02:02:56
   16    otherwise identical where one of them had                02:02:58
   17    more risk in it than the other, that in                  02:02:59
   18    order to attract capital, the industry that              02:03:02
   19    had more risk would demand a higher rate of              02:03:04
   20    return.     And a higher rate of return would            02:03:07
   21    mean there was less money available to pay               02:03:09
   22    labor in general.                                        02:03:11
   23           Q.    And you said I want to look at              02:03:13
   24    risk, I want to look at the variability of               02:03:15
   25    revenue across projects.        And I asked you          02:03:18
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                                                                   Page 208
    1    about variability of revenue.         You just           02:03:20
    2    answered risk.                                           02:03:20
    3                Are those interchangeable for                02:03:22
    4    purposes of this discussion?                             02:03:24
    5           A.   Risk and variability of revenue?             02:03:25
    6           Q.   Yes.                                         02:03:28
    7           A.   Interchangeable, no.       But very          02:03:28
    8    similar.    Overlapping.     Substantial                 02:03:31
    9    overlapping.                                             02:03:34
   10           Q.   So you would want to look at in              02:03:35
   11    determining whether to compare the firms,                02:03:37
   12    you would want to look at the overall risk               02:03:39
   13    profile, and that would include the                      02:03:41
   14    variability of revenue across projects?                  02:03:43
   15           A.   Yes.                                         02:03:45
   16           Q.   Are there any other factors that             02:03:46
   17    you would want to investigate or study to                02:03:53
   18    determine whether the comparison to the                  02:03:55
   19    movie industry was appropriate?                          02:03:57
   20           A.   Yeah.                                        02:03:57
   21           Q.   You've mentioned share of cost --            02:03:59
   22           A.   There might be.      I can't think of        02:04:01
   23    any as I sit here.                                       02:04:02
   24           Q.   You've got to let me finish the              02:04:03
   25    question.                                                02:04:06
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                                                                   Page 258
    1                   C E R T I F I C A T E
    2
    3    COMMONWEALTH OF MASSACHUSETTS
    4    SUFFOLK, SS.
    5              I, MaryJo O'Connor, a Notary Public
    6    in and for the Commonwealth of
    7    Massachusetts, do hereby certify:
    8              That ANDREW ZIMBALIST, Ph.D., the
    9    witness whose testimony is hereinbefore set
   10    forth, was duly sworn by me and that such
   11    testimony is a true and accurate record of
   12    my stenotype notes taken in the foregoing
   13    matter to the best of my knowledge, skill
   14    and ability.
   15              IN WITNESS WHEREOF, I have hereunto
   16    set my hand and Notarial Seal this 2nd day
   17    of October 2017.
   18
   19
   20                         MARYJO O'CONNOR, RMR/CSR
                                  Notary Public
   21
   22
         My Commission expires:
   23    September 28, 2018
   24
   25
